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                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

                                                  :
   FEDERAL TRADE COMMISSION,                      :
                                                  :
                         Plaintiff,               :
      v.                                          :
                                                  :
   SUN BRIGHT VENTURES LLC; CITADEL               : Case No: 8:14-cv-2153-T27-EAJ
   ID PRO LLC; BENJAMIN TODD                      :
   WORKMAN, TRIDENT CONSULTING                    :
   PARTNERS LLC; and GLENN ERIKSON,               :
                                                  :
                         Defendants.              :
                                                  :

                JOINT MOTION FOR ENTRY OF STIPULATED FINAL
                   ORDERS FOR PERMANENT INJUNCTION AND
                 MONETARY JUDGMENT AS TO ALL DEFENDANTS

           Plaintiff Federal Trade Commission (“FTC” or “Commission”) and defendants

   Benjamin Todd Workman, Citadel ID Pro LLC, Sun Bright Ventures LLC, Glenn

   Erikson and Trident Consulting Partners LLC, respectfully move this Court for an order

   entering: (i) the proposed Stipulated Order for Permanent Injunction and Monetary

   Judgment as to Defendants Benjamin Todd Workman, Citadel ID Pro LLC, and Sun

   Bright Ventures LLC (attached hereto as Exhibit A); and (ii) the proposed Stipulated

   Order for Permanent Injunction and Monetary Judgment as to Defendants Glenn Erikson

   and Trident Consulting Partners LLC (attached hereto as Exhibit B).
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   Dated: July 15, 2015


   Respectfully submitted,


s/ Thomas M. Biesty               s/ Frank H. Kerney, III           s/ Glenn Erikson
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Attorneys for Plaintiff
Federal Trade Commission




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                               CERTIFICATE OF SERVICE

          I hereby certify that on July 15, 2015, a true and correct copy of the Joint Motion

   for Entry of Stipulated Final Orders for Permanent Injunction and Monetary Judgment as

   to all Defendants was served upon the following individuals via Electronic Mail:


          1.     Frank H. Kerney, III Esq.
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                                                               s/ Thomas M. Biesty




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